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ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this

Office would have proven the following facts beyond a reasonable doubt. The undersigned parties

also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

Between at least 2011 and continuing through April 2013, in the District of Maryland and
elsewhere, STEPHANIE TWYMAN (“TWYMAN’”) knowingly conspired with Devell Lincoln
(“Lincoln”), Krystal Proctor (“Proctor”), Rosa Cruz-Araujo (“Cruz”), and others (collectively
“the coconspirators”) to fraudulently obtain tax refund checks that the United States Department
of Treasury issued (“refund checks”), and therefore conspired to and did steal public money from
the federal government.

As part of the scheme to steal public money, the coconspirators unlawfully obtained the
names and Social Security numbers of unemployed individuals (‘the victims”). The coconspirators
then used those names and Social Security numbers to file false Forms 1040 (federal income tax
returns) with the Internal Revenue Service (“IRS”) to generate fraudulent refund checks. On the
fraudulent tax returns, the coconspirators directed the IRS to mail the fraudulent refund checks to
addresses, and on some occasions into bank accounts, that the coconspirators controlled.
TWYMAN and her coconspirators knew that the unlawfully-obtained names and Social Security
numbers that the coconspirators used for the purpose of filing false returns and obtaining
fraudulent refunds belonged to real people.

The federal income tax returns that the coconspirators prepared and filed using the victims’
identities falsely reported that the victims operated Schedule C businesses, were entitled to the
Earned Income Tax Credit, and had certain dependents. To prepare the false tax returns, the
coconspirators used tax return templates. Because the coconspirators used templates to prepare the
fraudulent tax returns, many returns displayed the exact same false information with the exception
of the victims’ names, Social Security numbers, addresses, and dependent information. As
described below, law enforcement found one such template in TWYMAN’s bedroom, which the
coconspirators used to prepare and file 198 false returns.

When the coconspirators filed the fraudulent tax returns using the victims’ identities, the
IRS mailed the corresponding tax refund checks (that were payable to the victims) to addresses
that the coconspirators controlled. Once the coconspirators obtained physical possession of the
refund checks, some of the refund checks were brought to TWYMAN’s residence.

At TWYMAN’s residence, the conspiracy’s runners (i.e., coconspirators who were
responsible for cashing the refund checks) collected those refund checks. TWYMAN directed
those runners to negotiate the checks at Company A—a check cashing business in Maryland.
Proctor and Cruz were tellers at Company A who knowingly cashed fraudulent refund checks for
TWYMAN and the other coconspirators. TWYMAN arranged for the runners to cash the
fraudulent refund checks when Proctor or Cruz were working at Company A. When the runners

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cashed the fraudulent refund checks, Proctor and Cruz posted the negotiated checks to accounts
at Company A that belonged to Company A’s clients, but who were not associated with the victims
or the fraudulent refund checks. Once the runners cashed the refund checks through Proctor or
Cruz, the runners brought the stolen refund money to TWYMAN, who paid the teller—i.e.,
Proctor or Cruz—who cashed the fraudulent refund checks.

For example, on February 24, 2013, one of the coconspirators filed a false 2011 federal
income tax return using Individual 1’s stolen name and Social Security number. The tax return
included a Schedule C falsely reporting that Individual 1 operated a hair care business that earned
$15,500 in gross receipts. The 2011 tax return that was filed using Individual 1’s stolen name and
Social Security number also falsely reported that Individual 1 was entitled to a $4,894 refund from
the IRS. Based on the false line items in the tax return, the IRS mailed a $4,894 refund check
payable to Individual | (“the Individual 1 refund check”) to an address in Clinton, Maryland that
the coconspirators controlled.

On April 12, 2013, in the District of Maryland, TWYMAN contacted Proctor to arrange
for Lincoln to negotiate the Individual 1 refund check at Company A. In turn, Proctor arranged
for Cruz to assist Lincoln with the negotiation of the Individual 1 refund check at Company A.
TWYMAN informed Lincoln of the time at which he was to take the Individual 1 refund check
to Company A and cash the check.

Thereafter, Lincoln obtained the Individual 1 refund check, which displayed Individual 1’s
name and forged signature (and otherwise displayed sufficient information to definitively identify
Individual 1 as the intended payee of the check). Lincoln then took the Individual 1 refund check
to Company A, cashed the check through Cruz, and provided some of the proceeds to TWYMAN.
With the stolen proceeds, TWYMAN paid Proctor, who thereafter paid Cruz. Individual 1 never
authorized anyone to file a tax return using Individual 1’s identity, cash the Individual 1 refund
check, or forge Individual 1’s signature. TWYMAN and her coconspirators knew that Individual
1 was a real person.

On May 17, 2013, federal agents executed a search warrant on TWYMAN’s residence in
Maryland. In TWYMAN’s bedroom, agents found handwritten notes containing victims’ personal
identifying information (“PII”), identification cards that belonged to the conspiracy’s victims, and
a template tax return that the coconspirators used to file 198 fraudulent tax returns. In the kitchen
of TWYMAN’ s residence, agents found copies of several fraudulently-obtained tax refund checks.
In the Mercedes parked in front of TWYMAN’s residence, agents found a letter from the IRS to
one of the conspiracy’s victims.

Foreseeably to TWYMAN and in furtherance of the conspiracy, TWYMAN and her
coconspirators requested more than $550,000 in fraudulent tax refunds from the IRS, caused an
actual loss to the IRS of at least $566,261, and used the stolen identities of 10 or more victims to
file false tax returns and negotiate the corresponding fraudulent refund checks.

 
 

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SO STIPULATED:

 

 

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